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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS

IN RE JOHN DEERE & COMPANY                 Civil Action No. 3:22-cv-50188
REPAIR SERVICES ANTITRUST
LITIGATION                                 Judge Iain D. Johnston

This Document Relates To:
All Class Actions


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